        Case 1:15-cv-07433-LAP Document 338-1 Filed 08/08/16 Page 1 of 4




                                 United States District Court
                                Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


   DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFF’S
 SUPPLEMENT TO MOTION FOR ADVERSE INFERENCE INSTRUCTION BASED
                      ON NEW INFORMATION

         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a Partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

         2.    I respectfully submit this Declaration in Support of Plaintiff’s Supplement to

 Motion for Adverse Inference Instruction Based on New Information.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of July 29, 2016,

Correspondence from Ty Gee.

       4.      Attached hereto as Sealed Exhibit 2



       5.      Attached hereto as Sealed Exhibit 3 i



       6.      Attached hereto as Sealed Exhibit 4
       Case 1:15-cv-07433-LAP Document 338-1 Filed 08/08/16 Page 2 of 4




       7.      Attached hereto as Sealed Exhibit 5



       8.      Attached hereto as Sealed Exhibit 6



        9.     Attached hereto as Sealed Exhibit 7



       10.     Attached hereto as Sealed Exhibit 8



       11.     Attached hereto as Exhibit 9 is a true and correct copy of Rule 45 Subpoena to

Microsoft.

       I declare under penalty of perjury that the foregoing is true and correct.



                                              /s/ Sigrid S. McCawley______________
                                              Sigrid S. McCawley, Esq.
        Case 1:15-cv-07433-LAP Document 338-1 Filed 08/08/16 Page 3 of 4




Dated: August 8, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid S. McCawley
                                                 Sigrid S. McCawley (Pro Hac Vice)
                                                 Meredith Schultz (Pro Hac Vice)
                                                 Boies Schiller & Flexner LLP
                                                 401 E. Las Olas Blvd., Suite 1200
                                                 Ft. Lauderdale, FL 33301
                                                 (954) 356-0011

                                                 David Boies
                                                 Boies Schiller & Flexner LLP
                                                 333 Main Street
                                                 Armonk, NY 10504

                                                 Bradley J. Edwards (Pro Hac Vice)
                                                 FARMER, JAFFE, WEISSING,
                                                 EDWARDS, FISTOS & LEHRMAN, P.L.
                                                 425 North Andrews Avenue, Suite 2
                                                 Fort Lauderdale, Florida 33301
                                                  (954) 524-2820

                                                 Paul G. Cassell (Pro Hac Vice)
                                                 S.J. Quinney College of Law
                                                 University of Utah
                                                 383 University St.
                                                 Salt Lake City, UT 84112
                                                 (801) 585-52021




1
 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.


                                                    3
        Case 1:15-cv-07433-LAP Document 338-1 Filed 08/08/16 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com



                                                     /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley




                                                4
